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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                        Criminal Action No. 5:09CR7-03
                                                                  (STAMP)
 DONALD GASCHLER,

              Defendant.


                       MEMORANDUM OPINION AND ORDER
               AFFIRMING AND ADOPTING IN ITS ENTIRETY THE
              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                 THAT THE DEFENDANT’S MOTION TO SUPPRESS
                  SEARCH AND FRUITS OF SEARCH BE DENIED

                                I.   Background

       Currently pending before the Court and ripe for review are the

 defendant’s “Motion to Suppress Search and Fruits of Search” and

 the report and recommendation of the magistrate judge that the

 motion to suppress be denied.1         For the reasons that follow, the

 magistrate judge’s report and recommendation will be affirmed and

 adopted in its entirety and the defendant’s motion to suppress will

 be denied.

                    II.     Facts and Procedural History

       On   December   4,    2008,   Detective    Robert   Bone   prepared   an

 affidavit and applied for a warrant to search the defendant’s

 residence. The affidavit set forth the grounds for probable cause,


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       The defendant also filed a motion for a bill of particulars.
 The magistrate judge denied that motion in the same report and
 recommendation which recommended that the motion to suppress be
 denied. The defendant filed no objection to the magistrate judge’s
 order denying the motion for a bill of particulars. Accordingly,
 this Court need not and does not address that motion.
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 which included information received from five cooperating witnesses

 known to have previously provided reliable information resulting in

 criminal convictions of other individuals or whose information was

 corroborated by independent sources.        Specifically, Detective Bone

 stated that two of the cooperating witnesses had purchased heroin

 from the defendant and the defendant’s wife, co-defendant Shelly

 Gaschler. Detective Bone further stated that two other cooperating

 witnesses    had   recently   observed    firearms    in    the   defendant’s

 residence.      According to the affidavit, the fifth cooperating

 witness provided information that he had seen child pornography at

 the defendant’s residence. In addition to the information provided

 by the cooperating witnesses, Detective Bone’s affidavit also

 stated that co-defendant Shelly Gaschler had admitted to law

 enforcement officers on November 6, 2008, that she bought and

 distributed heroin and that after that admission, the Brooke County

 Sheriff’s Department received separate anonymous telephone calls

 reporting that Shelly Gaschler was continuing to sell heroin from

 the house where she and the defendant lived.               In the affidavit,

 Detective Bone identified the following, among other things, as

 property to be seized: heroin, financial and business records

 relating to illegal drug activity (whether maintained on paper or

 by computer), firearms, and ammunition.

       Detective Bone appeared before Michael H. Allman, Magistrate

 for Brooke County, West Virginia, and testified under oath as to

 the information contained in the affidavit.                 After receiving



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 Detective Bone’s testimony, Magistrate Allman issued a search

 warrant.     The search warrant was executed on the defendant’s

 residence on the same day that it was issued.             In executing the

 search warrant, law enforcement officers seized, among other items,

 a laptop computer; a desktop computer tower server, keyboard, and

 monitor; firearms and ammunition; and six stamp bags of heroin.

       Subsequently, a grand jury returned an indictment charging the

 defendant with one count of conspiracy to possess with intent to

 distribute in excess of one kilogram of heroin, and one count of

 being a felon in possession of a firearm.2            The indictment also

 names the defendant in a forfeiture allegation seeking a money

 judgement and forfeiture of currency and firearms.

       The defendant filed a motion to suppress the search and the

 fruits of the search.         The defendant contends that the search

 warrant lacked probable cause because the information provided by

 the cooperating witnesses was unreliable and because the warrant

 failed to identify the property to be seized with sufficient

 particularity.

       This matter was referred to United States Magistrate Judge

 James E. Seibert pursuant to 28 U.S.C. § 636(b).          Magistrate Judge

 Seibert entered a report and recommendation recommending denial of



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       A superseding indictment was returned after the defendant
 filed his motion to suppress and after the evidentiary hearing was
 held. The superseding indictment charges the defendant with the
 additional offenses of aiding and abetting the possession of
 firearms in relation to a drug trafficking crime, and being an
 unlawful drug user in possession of a firearm.

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 the defendant’s motion to suppress the search and the fruits of the

 search.       The magistrate judge informed the parties that if they

 objected to any portion of the report, they must file written

 objections within ten days after being served with copies of the

 report.       The defendant timely filed objections.

                            III.    Standard of Review

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

 a    de    novo   review   of   any     portion   of   the   magistrate   judge’s

 recommendation to which objection is timely made.                   As to those

 portions of a recommendation to which no objection is made, a

 magistrate judge’s findings and recommendation will be upheld

 unless they are “clearly erroneous.”              See Webb v. Califano, 468 F.

 Supp. 825 (E.D. Cal. 1979).               Here, the defendant filed timely

 objections to the magistrate judge’s report recommending denial of

 the defendant’s motion to suppress the search and the fruits of the

 search.       Accordingly, this Court reviews these matters de novo.

                                   IV.    Discussion

           Based upon a de novo review of the matters before it, this

 Court concludes that the issuance of the search warrant in this

 action was based upon probable cause and that the items to be

 seized were described with sufficient particularity.                 Therefore,

 the defendant’s motion to suppress must be denied.

 A.        Reliability

           Under the search and seizure protections afforded by the

 Fourth Amendment to the United States Constitution, issuance of a



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 search   warrant    requires    probable        cause    supported    by   oath   or

 affirmation.    See U.S. Const., amend. IV, cl. 2.              The existence of

 probable cause to search depends upon whether a fair probability

 exists that evidence of a crime will be found.                  See Illinois v.

 Gates, 426 U.S. 213, 238 (1983).                 Information from a reliable

 source or sources may establish probable cause.                 See id. at 241.

       Here, the defendant argues that the search warrant was not

 based upon probable cause because the information supplied in the

 search warrant was provided by cooperating witnesses who were not

 identified by name in the affidavit supporting the search warrant.

 This argument is baseless.            The cooperating witnesses in this

 action were either known to Detective Bone or other law enforcement

 officials to have previously provided reliable information leading

 to convictions for drug activity in federal and state court or they

 provided information on area drug dealers which was consistent with

 information    received    by   law   enforcement         officials    from     other

 intelligence     sources    known     to       be   reliable.         Under     these

 circumstances,     the   affidavit     contained         sufficient    indicia    of

 reliability to support a finding of probable cause for the issuance

 of the search warrant.

       The defendant also argues that information in the affidavit

 was unreliable because it was based upon second-hand information

 from law enforcement officers who were not signatories to the

 affidavit.       This    argument     is       equally   unavailing.          Hearsay

 information may form the basis, in part or in whole, of an



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 affidavit supporting a search warrant as long as the totality of

 circumstances provides sufficient indicia of reliability.                           See

 United States v. Ventresca, 380 U.S. 102, 103 (1965); United States

 v. DeQuasie, 373 F.3d 509, 518 (4th Cir. 2004).                       As discussed

 above,    this    Court     finds    that       the   information     from   certain

 cooperating witnesses who were known to be reliable, and the other

 cooperating witnesses’s information, which was consistent with

 information       from    other     intelligence         sources    known    by     law

 enforcement to be reliable, established the requisite probable

 cause to search the defendant’s home.

 B.    Particularized Description

       The defendant’s second ground for suppression of the evidence

 seized from his residence, that the warrant failed to describe the

 items to be seized with sufficient particularity, also lacks merit.

 The Fourth Amendment provides in relevant part that “no Warrants

 shall    issue,    but    upon    probable      cause,    supported    by    Oath    or

 affirmation, and particularly describing the place to be searched,

 and the persons or things to be seized.”                   U.S. Const. amend IV.

 The degree of specificity with which the items to be seized must be

 described will depend largely upon the circumstances and the type

 of items sought.         See United States v. Torch, 609 F.2d 1088, 1090

 (4th Cir. 1979.)

       Here, the property sought by the search warrant included, as

 the defendant correctly states, a comprehensive list of items that

 are typically involved in drug dealing.                   Among other items, the



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 property identified for seizure included the controlled substance

 referred to in the affidavit (heroin), firearms and ammunition, and

 financial and business records kept on paper or by computer.                          In

 the context of a drug-dealing offense, this Court finds that the

 description of the items identified for seizure in the search

 warrant      was        sufficiently      particularized         to    satisfy       the

 Constitutional standards of the Fourth Amendment.

        In   his    objections      to    the       magistrate   judge’s    report    and

 recommendation, the defendant contends that the magistrate judge

 erred by finding that probable cause supported the issuance of the

 warrant because the evidence actually seized from the defendant’s

 residence is vastly less than what the officers sought to seize,

 and because the property seized provides no evidence of child

 pornography.            In the defendant’s view, the discrepancy between

 what   was    sought       and    what   was       seized   demonstrates    that     the

 information supporting the affidavit was unreliable, and that,

 therefore,        the    search    warrant         lacked   probable   cause.       This

 contention lacks merit.              The pertinent inquiry is not, as the

 defendant suggests, whether the items sought to be seized must in

 fact be seized to establish probable cause at the time the search

 warrant is executed.             Rather, the question is whether “the facts

 alleged in the warrant furnish probable cause to believe, at the

 time the search was actually conducted, that evidence of criminal

 activity was located at the premises searched.”                    United States v.

 McCall, 740 F.2d 1331, 1336 (4th Cir. 1984).                      In this case, the



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 affidavit described detailed information from cooperating witnesses

 who were known to have previously provided reliable information,

 and the search warrant specifically sought, among other items,

 computer records, heroin, and firearms and ammunition.            The facts

 set forth in the affidavit provided probable cause to believe that

 evidence of the alleged possession of child pornography and alleged

 drug dealing was located at the defendant’s residence at the time

 it was searched.     Accordingly, this Court rejects the defendant’s

 objections.

       Because this Court finds on de novo review that the search

 warrant was issued on probable cause and that the items to be

 seized were described with sufficient particularity, the search was

 reasonable and, therefore, the evidence seized from the defendant’s

 residence as a result of the search is not subject to suppression.

 See United States v. Brown, 401 F.3d 588, 592 (4th Cir. 2005)

 (“Evidence gathered as fruit of an unreasonable search or seizure

 is generally inadmissible against a defendant.”) (citing Taylor v.

 Alabama, 457 U.S. 687, 694 (1982)).

       For   the   foregoing   reasons,    this   Court   agrees   with   the

 magistrate judge’s conclusion that the search warrant was based

 upon probable cause and that the evidence to be seized was descried

 with particularity.      Accordingly, the defendant’s objections will

 be overruled, the magistrate judge’s report and recommendation that

 this Court deny the defendant’s motion to suppress will be affirmed




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 and adopted in its entirety, and the defendant’s motion to suppress

 will be denied.

                                 V.   Conclusion

       After    a   de   novo   review,   this    Court   concludes   that   the

 magistrate judge’s recommendation is proper and the defendant’s

 objections thereto lack merit.               Accordingly, this Court hereby

 AFFIRMS and ADOPTS the magistrate judge’s report and recommendation

 in its entirety and DENIES the defendant’s motion to suppress.

       IT IS SO ORDERED.

       The Clerk is directed to transmit a copy of this order to the

 defendant and to counsel of record herein.

       DATED:       June 3, 2009



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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